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  8
  9                        UNITED STATES DISTRICT COURT

 10                      CENTRAL DISTRICT OF CALIFORNIA

 11   TRAVIS FLORES, an individual,         ) Case No.
 12                                         )
                   Plaintiffs,              ) COMPLAINT FOR DAMAGES
 13       v.                                ) FOR:
 14                                         )
      JUSTIN BALDONI, an individual;        ) (1) COPYRIGHT INFRINGEMENT
 15   CALEB REMINGTON, an individual; )
 16   WAYFARER ENTERTAINMENT, a ) (2) BREACH OF CONTRACT
      California limited liability company; )
 17
      WELLE ENTERTAINMENT, a                ) (3) INTERFERENCE WITH
 18   partnership of unknown origin;        ) CONTRACT
 19   LIONSGATE, INC., a California         )
      corporation; CBS FILMS, INC. a        ) DEMAND FOR JURY TRIAL
 20   Delaware corporation; AMBRY           )
 21   GENETICS CORPORATION, a               )
      Delaware corporation; and DOES 1      )
 22   through 100, inclusive,               )
 23                                         )
                   Defendants.              )
 24                                         )
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 26
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  1         Plaintiff Travis Flores (“Flores” or “Plaintiff”) hereby alleges as follows:
  2                 FACTS COMMON TO ALL CAUSES OF ACTION
  3         1.     Travis Flores is an activist, philanthropist, motivational speaker, actor,
  4   screenwriter, and children's book author. After being diagnosed with Cystic
  5   Fibrosis (“CF”) at the age of 4 months, and being given just a few years to live,
  6   Flores has battled CF for 30 years to develop a successful life and career. Flores
  7   has become a powerful influencer in the CF community through his activism for
  8   non-profit foundations like Make a Wish, through his online blogging and
  9   YouTube channel, through his speaking engagements across the country, and
 10   through various other works in the entertainment industry.
 11         2.     Beginning in approximately 2010, Flores began writing a fictional
 12   screenplay, inspired by his own life and struggles, entitled “Three Feet Distance.”
 13   The title was based on medical guidance that CF patients should never get closer to
 14   each other than three feet because they are prone to spreading harmful bacteria to
 15   each other. Three Feet Distance is about a group of chronically-ill teens who come
 16   together to share their stories and learn that physical distance does not define their
 17   relationships. In October 2015, Damien Pictures, an affiliate of Universal,
 18   optioned Flores’ screenplay and began pre-preproduction, attaching a cast and
 19   director to the project. Concurrently, Flores registered his work with the Writers
 20   Guild of America and obtained a registered copyright. Although Damien Pictures
 21   did not end up making Three Feet Distance into a film, Flores continued pitching
 22   Three Feet Distance to film studios and other parties interested in developing his
 23   work. In February 2016, Ambry Genetics, a company whose primary mission is to
 24   sell genetic testing, including for CF, expressed interest in Three Feet Distance. At
 25   Ambry’s request, pursuant to an express agreement to keep the script confidential
 26   and a standard, implied agreement in the entertainment industry to forego using the
 27   script without attaching Flores, Flores emailed a copy of that screenplay to several
 28   Ambry representatives, including Defendant Caleb Remington.

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  1         3.    In January 2017, Defendant CBS Films announced that it had decided
  2   to begin development of an untitled film from Defendant Justin Baldoni and his
  3   production company, Defendant Wayfarer Entertainment about teens with CF,
  4   which would be Baldoni’s feature film debut as both a director and a producer.
  5         4.    The year after the announcement of Baldoni’s untitled film, Baldoni
  6   asked Flores to appear in a documentary series called “My Last Days” about young
  7   people with terminal illnesses. Flores agreed, but made a concerted effort to avoid
  8   disclosing any portion of Three Feet Distance to Baldoni. Flores kept his
  9   screenplay from Baldoni both because Flores had a policy of keeping his work
 10   confidential and because Baldoni was working on the feature film project that
 11   Flores viewed as competitive.
 12         5.    Unbeknownst to Flores, however, Baldoni already had a different
 13   source to provide him with information about Three Feet Distance. As it turned
 14   out, Baldoni’s film – which became titled “Five Feet Apart” – would copy
 15   numerous elements of Three Feet Distance. Moreover, Baldoni consulted
 16   extensively about the content of “Five Feet Apart” with Caleb Remington – one of
 17   the representatives of Ambry to whom Flores sent the screenplay for “Three Feet
 18   Distance.” It now has become apparent that Remington provided the script, or
 19   large portions thereof, to Baldoni and/or to others working on “Five Feet Apart”
 20   and that “Five Feet Apart” copied numerous key elements of “Three Feet
 21   Distance.” Flores is pursuing this lawsuit to obtain relief from Remington and
 22   Ambry for breach of, and/or interference with, their agreement not to disclose
 23   Three Feet Distance and against Baldoni, Remington, Wayfarer, Welle, Lionsgate,
 24   and CBS Films for infringing on his registered copyright for Three Feet Distance.
 25         6.    “Five Feet Apart” is substantially similar to, or even strikingly similar
 26   to, “Three Feet Distance” in the following ways, among others:
 27               a. Mood: The mood of both films is extremely similar in that both
 28                   are tear-jerking romance stories.

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  1              b. Themes: A theme of both works is the importance of touch in
  2                 relationships, and yet the ability of people to maintain closeness
  3                 even when they are unable to touch each other. Another theme
  4                 that the works share is that the lead character has emotional
  5                 barriers to connecting with other people. A third theme that the
  6                 works share is the importance of living in the here and now.
  7              c. Setting: Both works are set in a group environment where a
  8                 number of chronically-ill teens have come together.
  9              d. Characters:
 10                    i. Both works center around a narrator/protagonist and
 11                          prominently feature the narrator’s platonic friend and the
 12                          narrator’s love interest. In “Three Feet Distance,” the
 13                          narrator/protagonist is Alex, and in “Five Feet Apart,” the
 14                          corresponding character is Stella. In “Three Feet Distance,”
 15                          the platonic friend is Kevin, and in “Five Feet Apart,” the
 16                          corresponding character is Poe. In “Three Feet Distance,”
 17                          the love interest is Jessie, and in “Five Feet Apart,” the
 18                          corresponding character is Will.
 19                    ii. Stella and Alex both are 17-year-old Cystic Fibrosis patients
 20                          who have barriers to creating new relationships who learn to
 21                          live in the here and now and are willing to push the bounds
 22                          of the medical guidance for CF patients to maintain physical
 23                          distance so that they can pursue romance. In each work, the
 24                          narrator initially does not want to talk about their dead sister,
 25                          but the narrator ultimately discloses having a dead sister.
 26                          Moreover, although the dead sister is not physically present
 27                          in either work – either during the present time or in
 28                          flashbacks – each work extensively addresses the sister’s

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  1                          death playing a key role in the narrator’s emotional
  2                          development. For example, just as Stella learns from her
  3                          sister, Abby, that she must live in the here and now and be
  4                          spontaneous, Alex learns from his sister, McKenzie, to do
  5                          things he has never done and to live life rather than thinking
  6                          life. The fact that the sister is not present in either work also
  7                          reinforces the theme that relationships can remain
  8                          meaningful even when people cannot physically touch each
  9                          other.
 10                   iii. Will and Jessie also are both 17-year-old CF patients. They
 11                          both are edgier than the narrator and romantically pursue the
 12                          narrator. Both of them also discuss having other
 13                          experiences with romance, whereas the narrator in each
 14                          work is more innocent.
 15                   iv. Kevin and Poe both are the platonic, opposite sex friend of
 16                          the narrator. Both of them have their own romantic
 17                          interests, but express difficulty committing. In the end, both
 18                          also end up realizing their mistake in failing to commit to
 19                          their love interest, but end up being unable to follow through
 20                          in declaring their love because illness gets in the way.
 21                    v. The ensemble cast in both films is less relevant than the
 22                          three main characters, but it is noteworthy that both works
 23                          feature one nurse who plays a significant role and one doctor
 24                          who plays a minimal role.
 25              e. Plot, Pace, Sequence of Events, and Dialogue: Numerous
 26                 distinctive events occur in both works and are highly similar.
 27                    i. In both works, mementoes play an important role in helping
 28                          to overcome the barrier of being physically distant. In both

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  1                          works, the narrator has one or more important mementos
  2                          from their dead sister (Alex has the journal; Stela has the
  3                          artwork on her wall and the stuffed panda). In addition, the
  4                          narrator shares mementos with their love interest. In “Three
  5                          Feet Distance,” Alex sends the journal to Jessie. In “Five
  6                          Feet Apart,” Will gives his drawings of Stella to her.
  7                    ii. Both works include sex, but not involving the narrator or the
  8                          love interest. In “Three Feet Distance,” Kevin has sex with
  9                          Amber. In “Five Feet Apart,” Will lends his room to two of
 10                          his friends to have sex.
 11                   iii. Both works introduce the narrator’s platonic friend
 12                          relationship early in the work and make the nature of the
 13                          relationship clear by having one call the other an “asshole.”
 14                   iv. In both works, one of the main characters is the guest of
 15                          honor at a surprise party that the other main characters plan.
 16                    v. In both works, the narrator initially resists the temptation to
 17                          get involved in a romantic relationship, but confesses
 18                          feelings to their love interest while under the influence of
 19                          drugs.
 20                   vi. Both works show the narrator and their love interest pushing
 21                          the boundary set for their romantic relationship while skinny
 22                          dipping. In both cases, the narrator talks about their dead
 23                          sister even though the event is supposed to be romantic.
 24                          Although “Three Feet Distance” shows both good and bad
 25                          events happening at a dock, “Five Feet Apart” splits the
 26                          water scenes into two parts, the skinny dipping at a pool and
 27                          the more dangerous scene at a bridge.
 28                   vii. Both works feature a forbidden kiss between the two main

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  1                           characters. In “Five Feet Apart” the kiss takes the form of
  2                           mouth-to-mouth resuscitation, but it nevertheless serves the
  3                           same purpose of showing the ephemeral fulfillment of the
  4                           main characters’ desire to be physically close.
  5                    viii. At the end of both works, the main characters have to
  6                           separate, and one of the main characters discloses that their
  7                           death is imminent.
  8         7.     The similarities between the two works extend far beyond the limited
  9   examples referenced above. Some of the similarities are seemingly small, like the
 10   wardrobe choice of showing the main character for the first time wearing a v-neck
 11   t-shirt. Others are more significant to the overall development of the works.
 12                       JURISDICTION, VENUE AND PARTIES
 13         8.     This action arises under the Copyright Laws of the United States (17,
 14   U.S.C. §101 et seq.).
 15         9.     This Court has subject matter jurisdiction over this copyright
 16   infringement action pursuant to 17 U.S.C. §§ 101, et. seq., and 28 U.S.C. 1367 and
 17   1338(a).
 18         10.    This Court has personal jurisdiction over defendants in that
 19   defendants conduct business in this District, defendants intentionally direct
 20   activities to this District, and the acts of infringement upon which the allegations in
 21   this Complaint are based occurred in this District.
 22         11.    Venue is proper in this Court pursuant to 28 U.S.C. §§1391(b) and (c),
 23   and/or § 1400(a).
 24         12.    Plaintiff Travis Flores (“Plaintiff” or “Flores”) is an individual
 25   residing in Los Angeles County, California.
 26         13.    Upon information and belief, defendant Justin Baldoni (“Baldoni”) is
 27   an individual residing in Los Angeles County, California.
 28         14.    Upon information and belief, defendant Caleb Remington

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  1   (“Remington”) is an individual residing in San Diego County, California.
  2         15.    Upon information and belief, defendant Wayfarer Entertainment, LLC
  3   (“Wayfarer”), is a California limited liability company with its principal place of
  4   business located in Los Angeles County, California.
  5         16.    Upon information and belief, defendant Welle Entertainment
  6   (“Welle”), is a partnership of unknown origin with its principal place of business in
  7   Los Angeles County, California.
  8         17.    Upon information and belief, defendant CBS Films, Inc. (“CBS
  9   Films”), is a Delaware corporation with its principal place of business in Los
 10   Angeles County, California.
 11         18.    Upon information and belief, defendant Ambry Genetics Corporation
 12   (“Ambry”), is a Delaware corporation with its principal place of business in
 13   Orange County, California
 14         19.    The true names and capacities, whether individual, corporate,
 15   associate or otherwise of the defendants named herein as DOES 1 through 100,
 16   inclusive, are unknown to Plaintiff, who therefore sues said defendants by such
 17   fictitious names. Plaintiff alleges on information and belief that each of the
 18   defendants, including those designated as a DOE, are responsible for the events
 19   alleged herein and the damages caused thereby as a principal, agent, co-conspirator
 20   or aider and abettor. Plaintiff will seek leave of this Court to amend this
 21   Complaint to allege the true names and capacities of such defendants when the
 22   same have been ascertained. (The named defendants and Does 1-10 are referred to
 23   collectively herein as “Defendants.”)
 24         20.    Plaintiff alleges on information and belief that Defendants, at all times
 25   relative to this action, were the agents, servants, partners, joint venturers and
 26   employees of each of the other defendants and, in doing the acts alleged herein,
 27   were acting with the knowledge and consent of each of the other defendants in this
 28   action.

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  1                                         COUNT I
  2      Copyright Infringement Against Baldoni, Remington, Wayfarer, Welle,
  3                     Ambry, Lionsgate, CBS Films and Does 1-50
  4                                 (17 U.S.C. § 501 et seq.)
  5         21.    Plaintiff repeats and re-alleges the preceding paragraphs of this
  6   Complaint as if fully set forth herein.
  7         22.    On or about October 26, 2015, Plaintiff registered a copyright for
  8   “Three Feet Distance.” The U.S. Copyright Office assigned Flores’ work
  9   copyright number PAu003805778 (the “Copyright”). Although Plaintiff at one
 10   point allowed Damien Pictures to option the screenplay, Plaintiff is now the sole
 11   and exclusive owner of all right, title, and interest in and to the in “Three Feet
 12   Distance” and its written content, including the Copyright.
 13         23.    In or about February 2016, Ambry requested that Flores send a copy
 14   of the screenplay for “Three Feet Apart” to several of its representatives, including
 15   Remington, and Flores did so.
 16         24.    Baldoni, Remington, Wayfarer, Welle, Ambry, Lionsgate, CBS Films
 17   all were involved in the production of, and contributed to the content in, “Five Feet
 18   Apart.”
 19         25.    Plaintiff alleges on information and belief that Baldoni, Remington,
 20   Wayfarer, Welle, Ambry, Lionsgate, CBS Films all had access to “Three Feet
 21   Distance” and used the same in connection with developing “Five Feet Apart.”
 22         26.    “Five Feet Apart” copies numerous elements of “Three Feet
 23   Distance,” is substantially similar to, or even strikingly similar to, “Three Feet
 24   Distance,” and infringes upon the Copyright.
 25         27.    Through their conduct averred herein, Baldoni, Remington, Wayfarer,
 26   Welle, Ambry, Lionsgate, CBS Films and Does 1-50 have infringed Plaintiffs’
 27   Copyright in violation of the Copyright Act, 17 U.S.C. § 501 et seq.
 28         28.    Wayfarer, Welle, Lionsgate, CBS Films, and Does 1-30 have the right

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   1   and ability to supervise and/or control the infringing conduct of their employees
   2   and independent contractors. They failed to exercise such supervision and control
   3   to the extent required by law by producing, filming, marketing, distributing, and
   4   screening a motion picture that copies significant portions of the copyrighted
   5   content of “Three Feet Distance” without authorization in violation of the
   6   Copyright Act, 17 U.S.C. §§ 106, 501 et seq.
   7         29.    Wayfarer, Welle, Lionsgate, CBS Films, and Does 1-30 derive, and
   8   will continue to derive, a direct financial benefit from the foregoing conduct.
   9         30.    Wayfarer, Welle, Lionsgate, CBS Films, and Does 1-30 have not
  10   acted reasonably or in good faith.
  11         31.    Plaintiff alleges on information and belief that the actions of the
  12   foregoing defendants are willful, intentional, and purposeful, in disregard of
  13   Plaintiffs’ Copyright.
  14         32.    As a direct and proximate result of said infringement by the foregoing
  15   defendants, Plaintiff is entitled to damages in an amount to be proven at trial in
  16   addition to the foregoing defendants’ profits attributable to the infringement.
  17         33.    In the alternative, Plaintiff is entitled to statutory damages of
  18   $150,000 per infringement pursuant to 17 U.S.C. § 504(c).
  19         34.    Plaintiff also is entitled to his attorney’s fees and costs pursuant to 17
  20   U.S.C. § 505.
  21                                         COUNT II
  22                   Breach of Contract Against Ambry and Does 51-70
  23                                 (17 U.S.C. § 501 et seq.)
  24         35.    Plaintiff repeats and re-alleges the preceding paragraphs of this
  25   Complaint as if fully set forth herein.
  26         36.    On or about February 16, 2016, after an initial meeting regarding
  27   Flores’ screenplay, Michael Squier, the Creative Director at Ambry, requested that
  28   Flores send a copy of the screenplay for “Three Feet Apart” to him as well as to

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   1   two of Ambry’s other representatives—Remington and Ambry’s Art Director,
   2   Geoff Alderete.
   3         37.      Pursuant to Flores’ standard operating procedures, Flores agreed to do
   4   so, but only on the condition that Ambry and its representatives keep the
   5   screenplay confidential. On behalf of Ambry, Mr. Squier agreed with Flores to
   6   those terms.
   7         38.      Moreover, pursuant to standard custom and practice in the
   8   entertainment industry, Flores and Ambry, including Mr. Squier, entered into an
   9   implied-in-fact agreement that Ambry and any of its representatives who directly
  10   or indirectly received Flores’ screenplay for “Three Feet Distance” from Flores
  11   would refrain from using the screenplay without hiring Flores as the writer on the
  12   film and crediting and compensating him as such.
  13         39.      Notwithstanding that Remington had access to Flores’ script for
  14   “Three Feet Distance,” Remington accepted a role as a consultant on “Five Feet
  15   Apart.” Plaintiff alleges on information and belief that Remington was
  16   compensated for his role as a consultant on that film and Remington disclosed the
  17   script, or large portions thereof, to other parties involved in making “Five Feet
  18   Apart,” including, without limitation, Baldoni.
  19         40.      As such, Plaintiff alleges on information and belief that Ambry
  20   breached that agreement in that it failed to prevent its representative, Remington,
  21   from disclosing the script for “Three Feet Distance” and in that it failed to ensure
  22   that Flores was retained to write the screenplay when the makers of “Five Feet
  23   Apart” used extensive portions of “Three Feet Distance” in making their film.
  24         41.      As a direct and proximate result of said breaches, Plaintiff is entitled
  25   to damages in an amount to be proven at trial, along with interest at the legal rate.
  26                                         COUNT III
  27           Interference with Contract Against Remington and Does 71-100
  28                                   (17 U.S.C. § 501 et seq.)

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   1         42.      Plaintiff repeats and re-alleges the preceding paragraphs of this
   2   Complaint as if fully set forth herein.
   3         43.      On or about February 16, 2016, after an initial meeting regarding
   4   Flores’ screenplay, Michael Squier, the Creative Director at Ambry, requested that
   5   Flores send a copy of the screenplay for “Three Feet Apart” to him as well as to
   6   two of Ambry’s other representatives—Remington and Ambry’s Art Director,
   7   Geoff Alderete.
   8         44.      Pursuant to Flores’ standard operating procedures, Flores agreed to do
   9   so, but only on the condition that Ambry and its representatives keep the
  10   screenplay confidential. On behalf of Ambry, Mr. Squier agreed with Flores to
  11   those terms.
  12         45.      Moreover, pursuant to standard custom and practice in the
  13   entertainment industry, Flores and Ambry, including Mr. Squier, entered into an
  14   implied-in-fact agreement that Ambry and any of its representatives who directly
  15   or indirectly received Flores’ screenplay for “Three Feet Distance” from Flores
  16   would refrain from using the screenplay without hiring Flores as the writer on the
  17   film and crediting and compensating him as such.
  18         46.      Plaintiff alleges on information and belief that Remington and Does
  19   71-100 knew of the foregoing express and implied-in-fact agreement.
  20         47.      Plaintiff alleges on information and belief that Remington, acting on
  21   his own behalf and not in the interest of Ambry, and Does 71-100, intentionally
  22   interfered with Ambry’s express and implied-in-fact agreement with Flores by
  23   disclosing extensive portions of “Three Feet Distance” to others involved in
  24   making “Five Feet Apart,” including Baldoni, with the express intention that “Five
  25   Feet Apart” use Flores’ work, without ensuring that Flores receive appropriate
  26   credit or compensation.
  27         48.      Plaintiff alleges on information and belief that Remington’s
  28   disclosures, which were in breach of Ambry’s express and implied-in-fact

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   1   agreement with Flores, caused Baldoni, Remington, Wayfarer, Welle, Ambry,
   2   Lionsgate, CBS Films “Five Feet Apart” to copy numerous elements of “Three
   3   Feet Distance,” such that “Five Feet Apart” is substantially similar to, or even
   4   strikingly similar to “Three Feet Distance.”
   5          WHEREFORE, Plaintiffs pray for judgment in their favor against
   6   Defendants, and each of them, as follows:
   7          a.     For actual damages and Defendants’ profits in an amount according to
   8   proof at trial;
   9          b.     In the alternative, for statutory damages of $150,000 per infringement
  10   pursuant to 17 U.S.C. § 504(c),
  11          c.     For costs and attorneys’ fees pursuant to 17 U.S.C. § 505.
  12          d.     For punitive damages;
  13          e.     For interest at the legal rate.
  14
  15   Dated: September 1, 2021                         FREEDMAN + TAITELMAN, LLP
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  17
  18                                             By: /s/ Bryan J. Freedman
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  19                                               Steven B.F. Stiglitz
  20                                               Attorneys for Plaintiff
                                                   Travis Flores
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